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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 23-14030-CR-CANNON/MAYNARD

UNITED STATES OF AMERICA
V.

KEYON LEWIS,

Defendant.
/

STIPULATION OF FACTS AND ACKNOWLEDGMENT OF OFFENSE
ELEMENTS IN SUPPORT OF GUILTY PLEA

The United States of America, by and through the undersigned Assistant United States
Attorney, and Keyon Lewis (hereinafter referred to as the “Defendant” or “Lewis”), together with

his counsel, admit that the United States can prove the allegations contained in Count One of the

‘Indictment, which charges the Defendant with distribution of a mixture and substance containing

a detectable amount of fentanyl, the use of which resulted in the death of “D.C.”, in violation of
Title 21, United States Code, Section 841(a)(1)(C).

The Defendant also stipulates that the following recitation of facts shall constitute the
underlying factual basis for his guilty plea. These facts are not all of the facts known to the United
States in this case, and are offered merely to provide a sufficient factual basis to support the
Defendant’s guilty plea.

On November 7, 2021, at approximately 12:50 a.m., “J.S.” arrived at her home in Indian
River County, Florida, which is located within the Southern District of Florida, and found her
husband, D.C., dead from an apparent overdose. D.C. was 35 years old when he died. J.S. found

D.C. slumped over in the kitchen. J.S. immediately called 911 and stated that her husband was
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on the floor and appeared to be dead. J.S. described D.C. as purple and cold, and advised the
dispatcher D.C. had a drug problem.

At approximately, 1:30 a.m., Indian River County Sheriff’s Office (““IRCSO”) Detective
Brandon Dean arrived at the scene. D.C. had been pronounced dead by the time Detective Dean
arrived at the scene. Detective Dean observed a light brown powdery substance in a plastic
baggie, syringe, and spoon on the kitchen counter near D.C.’s body, which was still present at the
scene. The light brown powdery substance tested positive for, among other things, fentanyl. The
substance was tested by the Indian River Crime Laboratory. Toxicology reports revealed that
D.C.’s blood contained, among other things, ethanol and fentanyl. Detective Dean also located a
cellphone on the kitchen counter near the fentanyl and drug paraphernalia.

J.S. explained to Detective Dean that she last saw D.C. on November 5, 2021, before she
left to spend the weekend in Plantation, Florida with a friend. J.S. stated that D.C. had been
drinking before she left “but not bad.” J.S. did not speak with D.C. on November 6, 2021,
although she called him several times during the day. J.S. left Plantation to come home on
November 6, 2021, because she had a bad feeling something was wrong with D.C. J.S. advised

that D.C. struggled with drug addiction. J.S. explained that D.C. had overdosed in the past and

tried to hide his drug use from her. J.S. identified the cellphone on the kitchen counter as D.C.’s,
and provided D.C.’s phone number (606 584-4144) and passcode. J.S. also gave law enforcement

consent to search D.C.’s cellphone.

As Detective Dean was searching D.C.’s cellphone, he located a text message exchange
between D.C. and a person saved as “Greg Barber,” which appeared to be drug related. The text

message exchange ended with a text from “Greg Barber” on November 5, 2021, at 8:51 p.m.,
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saying “Come out.” D.C. and “Greg Barber” also had several phone conversations on November
5, 2021.

J.S. advised Detective Dean that she recognized the phone number associated with “Greg
Barber,” and explained that D.C. frequently changed the names of the contacts saved in his phone

to hide them from her. J.S. informed Detective Dean that the phone number associated with “Greg

Barber” was the phone number for D.C.’s drug dealer.

Later in the evening, on November 7, 2021, Detective Dean, IRCSO Detective Dylan

Farinacci, IRCSO Sergeant Greg Stanley, and IRCSO Sergeant Ryan Eggers returned to J.S.’s
residence.

At approximately 9:30 p.m., Detective Dean texted “Greg Barber” from D.C.’s cellphone

and ordered drugs. The following is a summary of the text message exchange:

Detective Dean: Yoo

“Greg Barber”: Yoo

Detective Dean: Can u come thru
“Greg Barber”: Yea

Detective Dean: 100 how long?
“Greg Barber”: You still owe me 20

Detective Dean then called “Greg Barber” from D.C.’s cellphone, during which Detective
Dean listened to “Greg Barber” speak and verified he was a male. Shortly thereafter, the

following text message exchange took place between Detective Dean and “Greg Barber”:

Detective Dean: Call me back
Detective Dean: Can u hear me?
Detective Dean: My phone fucked up

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“Greg Barber”: You owe 20

“Greg Barber”: I can come now

Detective Dean: I got u on 120

“Greg Barber”: Ok

“Greg Barber”: You gone be outside
Detective Dean: Ya let me know when ur here
“Greg Barber”: I’m here

At approximately 10:13 p.m., immediately after “Greg Barber” sent the last text message

indicating he had arrived, a black Chevrolet pickup truck turned onto D.C.’s street and stopped

directly in front of D.C’s driveway.! At approximately 10:14 p.m., Detective Dean received a
call on D.C.’s phone from “Greg Barber.” Immediately thereafter, the Chevrolet pickup truck
attempted to turn around and exit D.C.’s neighborhood. Detective Dean and the other officers

then initiated a vehicle stop of the Chevrolet pickup truck. Law enforcement did not observe any

other vehicles travelling on D.C.’s street between 8:50 p.m. and 10:15 p.m.

The vehicle was driven by Lewis’ girlfriend, Monet Wright (“Wright”). Lewis was sitting
in the front passenger’s seat. At approximately 10:17 p.m., Detective Dean approached the
passenger’s side of the vehicle, and engaged in a brief conversation with Lewis. During his
conversation with Lewis, Detective Dean recognized Lewis’s voice as the man he had just spoken

with using D.C.’s cellphone, and observed a cellphone in Lewis’ hand.

' D.C. lived in a residential neighborhood in the West Vero Corridor area of Indian River County.

There is only one way in and one way out of the neighborhood.
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At approximately 10:20 p.m., Lewis was directed to exit the vehicle. Lewis had a
cellphone in his hand when he exited the vehicle. Lewis’ cellphone was placed on top of the
pickup truck.

As soon as Lewis exited the vehicle, Sergeant Stanley observed two clear plastic baggies
on the ground next to where Lewis’ feet were when he exited the vehicle. Each baggie contained
a light brown powdery substance. The light brown powdery substance tested positive for, among
other things, fentanyl. The substance was tested by the Indian River Crime Laboratory. The
color and packaging of the substance was consistent with the color and packaging of the fentanyl
that was found next to D.C.’s body. At this point, Lewis was arrested for possession with intent
to sell or deliver fentanyl. Incident to his arrest, law enforcement seized Lewis’ cellphone.

At approximately, 10:22 p.m., Detective Farinacci advised Lewis of his Miranda rights.
Lewis acknowledged that he understood his Miranda rights, and agreed to speak with Detective
Farinacci. Lewis confirmed the cellphone he had in his hand when he exited the vehicle was his.

At approximately, 10:29 p.m., Detective Dean again called the number for “Greg Barber”
from D.C.’s cellphone, at which point the cellphone Lewis had in his hand when he exited the
vehicle displayed an incoming TextNow alert.”

On November 17, 2021, Detective Dean interviewed Phillip Due (“Due”). Due was one
of D.C.’s coworkers and his contact information was stored in D.C.’s cellphone. Due stated that

he was with D.C. from about 8:00 p.m. until 9:00 p.m. on November 5, 2021. Due advised that

2 TextNow is an online messaging application that allows users to text and call any number in the
United States. TextNow provides the user with a unique phone number that can be used on any
smartphone, tablet, or desktop computer with an internet connection. The phone number provided
by TextNow is different than the phone number assigned by the service provider associated with

the cellphone.
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he arrived at D.C.’s residence at about 8:00 p.m. to hang out, at which point D.C. requested that
they go to Applebee’s to have dinner. Due drove D.C. to the Applebee’s on 20th Street in Vero
Beach. Due stated that he and D.C. ate at the bar, and that shortly before they left D.C. got up
and walked outside for a few minutes, and then came back inside to pay the bill. Due then drove
D.C. home and dropped him off a little after 9:00 p.m.

Detective Dean obtained surveillance footage from the Applebee’s. The surveillance
footage shows Due and D.C. walking into the Applebee’s at 8:23 p.m. D.C. is wearing the same
clothes he was wearing when he was found dead inside his residence. The surveillance footage
also shows Due and D.C. sitting at the bar talking, until about 8:43 p.m., at which point D.C. takes
his cellphone out and appears to send a text message. The text message exchange between D.C.
and “Greg Barber” on November 5, 2021, started at 8:43 p.m. At 8:51 p.m., the surveillance
footage shows D.C. get up and walk outside to the parking lot, which was right after “Greg Barber”

texted him to “Come out.” As D.C. walked out of the frame of the surveillance camera, a black

Chevrolet pickup truck can be seen entering the Applebee’s parking lot. The surveillance footage
shows D.C. walking back inside the Applebee’s at 8:54 p.m. Due and D.C. both left the
Applebee’s at 9:00 p.m., which is also captured on the surveillance footage.

Detective Dean ultimately obtained a search warrant for Lewis’ cellphone, and law

enforcement was able to extract some information from the device, including several incriminating

text message exchanges between Lewis and D.C. The text message exchange between Lewis and
D.C. from November 5, 2021, and the text message exchange between Lewis and Detective Dean
(posing as D.C.) from November 7, 2021, were located on Lewis’ cellphone.

On January 30, 2022, the Chief Medical Examiner for Indian River County, Patricia A.

Aronica, M.D., issued a report opining that D.C. died from “fentanyl and ethanol intoxication.”
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Had this case proceeded to trial, Dr. Aronica would have testified that but for the presence of the
fentanyl that was detected in D.C.’s system, D.C. would not have died, and that the amount of
ethanol detected in D.C.’s blood was not enough to kill him but for the presence of the fentanyl.

Had this case proceeded to trial, Stacey L. Hail, MD, FACMT, an expert witness in the
fields of medical toxicology and emergency medicine, would also have testified that but for the
ingestion of fentanyl by D.C., and the acute intoxication that ensued, D.C. would not have died.
Additionally, Dr. Hail would have testified that fentanyl was an independently sufficient cause of
D.C.’s death.

Lewis stipulates that on November 5, 2021, he distributed a mixture and substance
containing a detectable amount of fentanyl to D.C., and that D.C. died as a result of using the
fentanyl Lewis distributed.

The defendant is aware of and understands the nature of the charges to which he is pleading
guilty and understands that had he proceeded to trial, the United States would have had to prove

the following elements beyond a reasonable doubt:
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Count 1: Title 21, United States Code, Sections 841(a)(1), and 841(b)(1)(C):

(1) The Defendant knowingly distributed a mixture or substance containing a
detectable amount of fentany];

(2) The Defendant knew he was distributing a controlled substance; and

(3) D.C. would not have died but for his use of the fentanyl the defendant distributed.

Respectfully submitted,

MARKENZY LAPOINTE
UNITED STATES ATTORNEY

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MICHAEL D. PORTER
ASSISTANT UNITED STATES ATTORNEY

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